Case 1:23-cv-00079-ABJ   Document 379-2   Filed 10/03/24   Page 1 of 4




        EXHIBIT
          B
              Case 1:23-cv-00079-ABJ           Document 379-2          Filed 10/03/24      Page 2 of 4



Patrick Murphy

From:                             Paula Colbath <pcolbath@loeb.com>
Sent:                             Wednesday, October 2, 2024 9:58 AM
To:                               Patrick Murphy
Cc:                               Marc Gottlieb; MineOne-BCB; Masterson
Subject:                          RE: BCB, Minecne, and Reaching Out to Judge Johnson’s Judicial Assistant This
                                  Afternoon.


Pat: I just Zoomed with Drs. Rengifo and Li. I have been advised that there is a settlement framework under discussion
but as we know as lawyers, the devil is always in the details. I understand your side is drafting the settlement agreemen
and we look forward to reviewing it soon. In the meantime, we must all honor the deadlines we currently face, including
getting Emory’s deposition on the schedule for next Wednesday. Hopefully, we will have an inked deal before then,
maybe as early as this week. Once we receive your draft settlement agreement, we will review it with our clients and
get back to you ASAP with our comments

Again, we are on standby to review the draft settlement agreement that I understand Michael is working on

Regards,
Paula

From: Patrick Murphy <pmurphy@wpdn.net>
Sent: Wednesday, October 2, 2024 11:37 AM
To: Paula Colbath <pcolbath@loeb.com>
Cc: Marc Gottlieb <msg@orllp.Iegal>; MineOne-BCB <MineOne-BCB@loeb.com>; Masterson <masterson@wpdn.net>
Subject: RE: BCB, MineOne, and Reaching Out to Judge Johnson’s Judicial Assistant This Afternoon.




Dear Paula:

Michael Murphy is now reporting to me that he, Erick and Jiaming just reached a settlement framework in
principle on their extended Zoom settlement call early this morning. And that each of them expressed to one
another, at the end of their Zoom call, they have a settlement framework in principle.

Michael also says we need to “paper” this settlement framework, starting immediately.

Michael and I will take the laboring oar with writing the proposed draft of the written settlement agreement.

And we will use, as our template, much of the language and organization in our BCB/Bitmain Georgia
Settlement Agreement.

Would you please reach out to Erick and Jiaming to confirm this, Paula?

It is urgent, Michael says, that the Court be able to distribute the attached funds (currently invested, through the
registry of the Court, with the Department of the Treasury, the Clerk tells me) ASAP. .so the Parties can invest
                                                                                            .


their allocated funds in Bitcoin ASAP.
                      Case 1:23-cv-00079-ABJ                           Document 379-2                      Filed 10/03/24                 Page 3 of 4

I know lawyers often like to say, “time is of the essence,” but time and getting the allocated monies invested
in Bitcoin truly is of the essence here. So much so that Michael and I hope to provide you with a draft
Settlement Agreement by the end of the day or very early tomorrow. Our hope is that Judge Johnson would be
able to sign an Order di tributing all the attached funds, and all of their accrued interest sometime this Friday.

Thank you, Paula.

Pat Murphy

         ~                                Patricki. Murphy
                                          Attorney at Law
                  -                       Office: 307-265-0700
                       X   I’.IIIJ fl
                                          pmurphy@wpdn net
                                          159 N. Wolcott St. Suite 400 (82601)
          WPDN.NET                        P.O. Box 10700
                                          Casper, WY 82602


PRIVILEGE NOTICE: This email message cantains confidential, privileged information intended solely far the addressee. Please do not read, copy or disseminate it unless you a
the addressee. If you have received it in error, please call (collect) immediately at (307) 265~0 700 and ask to speak with the sender. Also. I would appreciate your forwarding the
message back to me and deleting it from your system. Thank you.

FEDERAL TAX AD VICE DISCLAIMER: This email is not tax advice and is not intended for the purposes of avoiding federal tax penalties or promoting, marketing, or recommending
to another party any matters addressed herein IRS Circular 230.




From: Paula Colbath <pco bath@loeb.com>
Sent: Tuesday, October 1, 2024 4:28 PM
To: Patrick Murphy <Dmu phv(&wpdn net>
Cc: Marc Gottlieb <msg@orllp.legal>; MineOne-BCB <MineOne-BCB@loeb.com>
Subject: RE: BCB, MineOne, and Reaching Out to Judge Johnson’s Judicial Assistant This Afternoon.

I’ll keep my fingers crossed Things look encouraging

Regards,
Pau a

From: Patrick Murphy <pmur0hy@wpdn.net
Sent: Tuesday, October 1, 2024 5:47 PM
To: Paula Colbath <Dcolbath@loeb.com>
Cc: Marc Gottlieb <msg@orllp.lega >; MineOne-BCB <MineOne-BCB loeb.com>
Subject: RE: BCB, MineOne, and Reaching Out to Judge Johnson’s Judicial Assistant This Afternoon.




That’s fine, Paula. Thank you. Michael told me he and Erick and Jiaming are Zooming at 8pm Eastern tonight.

We’ll round in the morning with each other to then call Judge Johnson’s chamber.

Pat

                                                                                           2
                        Case 1:23-cv-00079-ABJ                          Document 379-2                    Filed 10/03/24                 Page 4 of 4


                                          Patricki. Murphy
                                         Attorney at Law
                                         Office: 307-265-0700
                         x Nfl’!’’ Li
                                         pmurphy(~wDdn net
                                         159 N. Wolcott St. Suite 400(82601)
                                         P.O. Box 10700
           WPDN NET .
                                         Casper, WY 82602



PRIVILEGE NOTICE. This email message cantains confidential, privileged infarmation intended solely for the addressee. Please do not read, copy ar disseminate it unless you are
the addressee. If you have received it in error, please call (collect) immediately at (307) 265-0700 and ask to speak with the sender. Alsa, I would appreciate your forwarding the
message back tome and deleting it from your system. Thank you.

FEDERAL TAX ADVICE DISCLAIMER: This email is not tax advice and,s nat intended far the purposes of avoiding federal tax penalties or promoting, marketing, or recommending
to another party any matters addressed herein. IRS Circular 230.




From: Paula Colbath <Dcolbath@loeb.com>
Sent: Tuesday, October 1, 2024 3:45 PM
To: Patrick Murphy <pmurphy@wpdn.net>
Cc: Marc Gottlieb <msg@orllp.legal>; MineOne-BCB <MineOne BCB@Ioeb c >
Subject: RE: BCB, Mineone, and Reaching Out to Judge Johnson’s Judicial Assistant This Afternoon.

Pat: Unfortunately, I’m not able to connect with Jiaming and F ick u ti much later tonight, so I’ll be back to you
sometime tomorrow regarding your below email

Best,
Paula




Paula Colbath
Partner
   •LOEB&
     LOEB
345 Park Avenue I New York NY 10154
Direct Dial: 212 407 4905           Fax: 212 407.4990         E-mail:         at       e .com
Los Angeles        New York         Chicago      Nashville      Washington DC I San Francisco I Beijing                 Hong Kong          www.loeb corn


  •-   -   Mansfield Rule
           Ce~fted 2022-2023
       /

CONFIDENTIALITY NOTICE: This e-mail transmission, and an~ documents, tiles or previous e.mail messages attached to it may contain confidential information that is
Iegafty privileged. If you ale not the intended recipient or a person responsible loi delivering ito the intended recipient, you are hereby notified that any disclosure,
copying. distribution or use at any ot the intormation contained in or attached to this transmission is STRICTLY PROHIBITED. It you have received this transmission in
eiro,, please immediately notify the sender. Please destroy the original transmission and its atlachments without reading o, saving in any manner. Thank you Loeb &
Loeb LLP
